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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

              v.                                              No. 1-21-cr-609-APM

JEREMY BROWN,                                                 Hon. Judge Amit P. Mehta

                           Defendant.


                            MOTION TO WITHDRAW AS COUNSEL OF RECORD


                   COMES NOW the undersigned attorneys and hereby moves this Honorable Court to

allow the undersigned to withdraw as counsel of record pursuant to LCR 44.5(4)(d). In support thereof

states as follows:

        1.         The undersigned were retained as counsel by Mr. Brown on October 10, 2022. (Dkt. 25,
                   26)

        2.         The case was stayed pending resolution of Mr. Brown’s criminal charges in the Middle
                   District of Florida. Those charges were resolved with Mr. Brown being sentenced to
                   seven years on April 7, 2023.

        3.         The undersigned and Mr. Brown have met in person and via video on multiple occasions
                   to discuss his case.

        4.         The undersigned and Mr. Brown now have conflicts that cannot be resolved, and the
                   undersigned have an ethical obligation to withdraw from his case.

        5.         The undersigned discussed their intention to withdraw with Mr. Brown today. He
                   acknowledged and understood the conflicts and will be retaining an attorney from central
                   Florida.

        6.         If the Court has a hearing on the instant motion we would request that it be conducted
                   remotely by video to avoid Mr. Brown’s transfer to the District of Columbia. This would
                   allow Mr. Brown to retain new counsel in Florida and meet and confer about his case.
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Wherefore, the undersigned lawyers request to withdraw from representing the Defendant.

                 Dated: May 1, 2023                                Orlando, Florida

                 Respectfully submitted,


                 By:              /s/ Dan Eckhart                   /s/ David Bigney
                                  DAN ECKHART, Esq.                 DAVID BIGNEY, Esq.
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                                       CERTIFICATE OF SERVICE

         I hereby certify that on May 1, 2023, I electronically filed the foregoing with the Clerk of the Court
using the CM/ECF system which sent notification of such filing to all parties listed on the Electronic Case
Filing (ECF) System.


                                           By:     /s/ Dan Eckhart                    /s/ David Bigney
                                                   DAN ECKHART                        DAVID BIGNEY




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